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     Subject:                        El Señor De los Cielos [The Lord of the Skies]




     Dear Felipe,

     Following on from our conversations, I attach our proposal for the second part of the production of
     “The Lord of the Skies” in writing as agreed. If you have any questions, please do not hesitate to
     contact me.

     Sincerely,




                                                                        Exhibit "C-1" (translation)
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                                                     Exhibit "C-1" (translation)
